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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE: ) Civil Actions No. 02-1201,
) 03-425, 03-1380, 05-589,

COMMUNITY BANK OF NORTHERN ) 05-590, 05-688, 05-1386
VlRGlNlA AND GUARANTY BANK ) and 06-768
)

SECOND MORTGAGE LITIGATION
ORDER OF COURT
AND NOW, this 29th day of August, 2007, following a

status conference in the above captioned litigation, IT IS HEREBY

ORDERED that the parties shall proceed as follows:

l. The parties' briefs on the issue of new notice
requirement for the proposed class action settlement shall
be filed on or before September 17, 2007.

2. The court will conduct a hearing on both class
certification and the fairness of the proposed class action
settlement on Tuesday, October 9, 2007 atloéM ileourtroom
#3A, 3rd floor, United States Courthouse, Pittsburgh,
Pennsylvania.

 

cc: All Counsel of Record

